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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
____________________________________

UNITED STATES OF AMERICA                                    [Proposed]
                                                            Order of Restitution
              v.

REGINALD FOWLER                                             S3 19 Cr. 254 (ALC)
__________________________________

       Upon the application of the United States of America, by its attorney, Damian Williams,

United States Attorney for the Southern District of New York, Sheb Swett, Samuel Raymond,

Jessica Greenwood, and Samuel P. Rothschild, Assistant United States Attorneys, of counsel; the

presentence investigation report; the defendant’s conviction on Count Five of the Indictment; and

all other proceedings in this case, it is hereby ORDERED that:

       1.     Amount of Restitution

       Reginald Fowler, the defendant, shall pay restitution in the total amount of

$53,189,261.80, pursuant to 18 U.S.C. § 3663 and 18 U.S.C. § 3663A, to the victims of the offense

charged in Count Five. The names, addresses, and specific amounts owed to each victim are set

forth in the Schedule of Victims, attached hereto as Schedule A. Upon advice by the United States

Attorney’s Office of a change of address of a victim, the Clerk of Court is authorized to send

payments to the new address without further order of this Court.

              A.      Joint and Several Liability

       Restitution is not joint and several with other defendants or with others not named herein.

              B.      Apportionment Among Victims

       Pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United

States is paid. Restitution shall be paid to the victim(s) identified in the Schedule of Victims,

attached hereto as Schedule A, on a pro rata basis, whereby each payment shall be distributed
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proportionally to each victim based upon the amount of loss for each victim, as set forth more fully

in Schedule A.

       2.        Schedule of Payments

       Pursuant to 18 U.S.C. § 3664(f)(2), in consideration of the financial resources and other

assets of the defendant, including whether any of these assets are jointly controlled; projected

earnings and other income of the defendant; and any financial obligations of the defendant;

including obligations to dependents, the defendant shall pay restitution in the manner and

according to the schedule that follows:

       The total amount of restitution is due and payable immediately pursuant to 18 U.S.C.

§ 3572(d)(1) upon entry of this judgment.

3.     Payment Instructions
       The defendant shall make restitution payments by certified check, money order, or online.

Instructions for online criminal debt payments are available on the Clerk of Court’s website at

https://nysd.uscourts.gov/payment-information#PaymentofCriminalDebt. Checks and money

orders shall be made payable to the “SDNY Clerk of Court” and mailed or delivered to: United

States Courthouse, 500 Pearl Street, New York, New York 10007 - Attention: Cashier, as required

by 18 U.S.C. § 3611. The defendant shall write his name and the docket number of this case on

each check or money order.

       4.        Change in Circumstances

       The defendant shall notify, within 30 days, the Clerk of Court, the United States Probation

Office (during any period of probation or supervised release), and the United States Attorney’s

Office, 86 Chambers Street, 3rd Floor, New York, New York 10007 (Attn: Financial Litigation

Program) of (1) any change of the defendant’s name, residence, or mailing address or (2) any



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material change in the defendant’s financial resources that affects the defendant’s ability to pay

restitution in accordance with 18 U.S.C. § 3664(k).

        5.      Term of Liability

        The defendant’s liability to pay restitution shall terminate on the date that is the later of 20

years from the entry of judgment or 20 years after the defendant’s release from imprisonment, as

provided in 18 U.S.C. § 3613(b). Subject to the time limitations in the preceding sentence, in the

event of the death of the defendant, the defendant’s estate will be held responsible for any unpaid

balance of the restitution amount, and any lien filed pursuant to 18 U.S.C. § 3613(c) shall continue

until the estate receives a written release of that liability.

        SO ORDERED:

        ___________________________________                             _____________
        HONORABLE ANDREW L. CARTER                                      DATE
        UNITED STATES DISTRICT JUDGE




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                                      Schedule A
                                  Schedule of Victims

           Name                        Address                     Amount

Randolph N. Osherow in his     342 West Woodlawn Avenue   $53,189,261.80
capacity as the Chapter 7      Suite 100
Trustee of the substantively   San Antonio, TX 78212
consolidated Chapter 7
bankruptcy estates Ebersol
Sports Media Group, Inc. and
four of its subsidiaries
formerly operating as the
Alliance of American
Football
